AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                 Western District
                                               __________ Districtof of
                                                                     Missouri
                                                                        __________

                  United States of America                       )
                             v.                                  )
                WESLEY BRIAN KASTER                              )      Case No.
                  [DOB: 01/27/1977]                              )                 19-3008-MJ-WJE
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               February 10, 2019              in the county of                Boone           in the
     Western           District of          Missouri         , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 844(f)(1)                         by maliciously damaging or destroying, or attempting to damage or destroy,
                                              by means of fire or an explosive, any building, vehicle, or other personal or
                                              real property in whole or in part owned or possessed by any institution or
                                              organization receiving Federal financial assistance.




         This criminal complaint is based on these facts:
See the attached affidavit of Special Agent Curtis J. Bryant, Federal Bureau of Investigation.




         ✔ Continued on the attached sheet.
         ’


                                                                                            Complainant’s signature

                                                                                           SA Curtis J. Bryant, FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             03/04/2019
                                                                                               Judge’s signature

City and state:                   Jefferson City, Missouri                                    Willie J. Epps, Jr.
                                                                                             Printed name and title
